      Case: 1:12-cv-00610 Document #: 1 Filed: 01/27/12 Page 1 of 4 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Ashley Parker,                               )
                                             )
       Plaintiff,                            )
                                             )
       v.                                    )       No.   12 C 610
                                             )
Mercantile Adjustment Bureau, LLC,           )
a New York limited liability company,        )
                                             )
       Defendant.                            )       Jury Demanded

                                         COMPLAINT

       Plaintiff, Ashley Parker, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection letter violates the FDCPA, and to recover damages for this violation, and

alleges:

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and, c) Defendant resides and transacts

business here.

                                           PARTIES

       3.      Plaintiff, Ashley Parker (“Parker”), is a citizen of the State of Illinois,

residing in the Northern District of Illinois, from whom the Defendant attempted to collect

a delinquent consumer debt allegedly owed to RBS Card Services for a credit card.


                                                 1
      Case: 1:12-cv-00610 Document #: 1 Filed: 01/27/12 Page 2 of 4 PageID #:2




       4.       Defendant, Mercantile Adjustment Bureau, LLC (“Mercantile”), is a New

York limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or telephone to collect, or attempt to

collect, delinquent consumer debts, including delinquent consumer debts in the

Northern District of Illinois. In fact, Mercantile was acting as a debt collector as to the

debt it attempted to collect from Ms. Parker.

       5.       Defendant Mercantile is licensed to conduct business in Illinois and

maintains a registered agent here, see, record from the Illinois Secretary of State,

attached as Exhibit A. In fact, Mercantile conducts business in Illinois.

       6.       Defendant Mercantile is licensed to act as a collection agency in Illinois,

see, record from the Illinois Division of Professional Regulation, attached as Exhibit B.

In fact, Mercantile acts as a collection agency in Illinois.

                                 FACTUAL ALLEGATIONS

       7.       Defendant Mercantile sent Ms. Parker an initial form collection letter,

dated January 12, 2011, demanding payment of a delinquent consumer debt owed to

RBS Card Services for a credit card. A copy of this letter is attached as Exhibit C.

       8.       Defendant Mercantile then sent an additional letter within 30 days of the

initial letter, dated February 11, 2011. This letter stated that Ms. Parker had "ignored

previous correspondence", and warned her that to “avoid possible further collection

efforts”, that she had to “pay the balance immediately”. A copy of this letter is attached

as Exhibit D.

       9.       Defendant Mercantile’s collection actions complained of in this matter

(Exhibit D) occurred within one year of the date of this Complaint.

                                               2
      Case: 1:12-cv-00610 Document #: 1 Filed: 01/27/12 Page 3 of 4 PageID #:3




       10.    Defendant Mercantile’s collection communications are to be interpreted

under the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                              Violation Of § 1692g –
                   Overshadowing And/Or Ineffectively Conveying
                           The 30-Day Validation Notice

       11.    Section 1692g of the FDCPA requires that, within 5 days of Defendant’s

first communication to a consumer, the Defendant provide the consumer with an

effective validation notice, i.e., notice that the consumer has 30 days after receipt of the

notice to challenge the validity of the debt, or any portion of the debt, and seek

verification of it. Moreover, § 1692g(b) further prohibits any collection activity and/or

communication during the 30-day period which overshadows, or is inconsistent with, the

disclosure of the consumer’s right to dispute the debt, see, 15 U.S.C. § 1692(b).

       12.    Here, although Defendant Mercantile’s initial collection letter (Exhibit C)

contains the notice required by § 1692g of the FDCPA, that notice was rendered

ineffective/overshadowed by the language in Defendant’s second collection letter sent

on the 30th day of the validation period (Exhibit D). Specifically, Mercantile’s warning

that to “avoid possible further collection efforts”, Ms. Parker had to “pay the balance

immediately”, violated § 1692g of the FDCPA. See, Chauncey v. JDR Recovery

Corporation, 118 F.3d 516, 519 (7th Cir. 1997); Avila v. Rubin, 84 F.3d 222, 226 (7th

Cir. 1996); Bartlett v. Heibl, 128 F.3d 497, 501 (7th Cir. 1997); see also, § 1692g(b).

       13.    Defendant Mercantile’s violation of § 1692g of the FDCPA renders it liable

for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                              3
      Case: 1:12-cv-00610 Document #: 1 Filed: 01/27/12 Page 4 of 4 PageID #:4




                                  PRAYER FOR RELIEF

       Plaintiff, Ashley Parker, prays that this Court:

       1.     Find that Defendant Mercantile's form collection letter violates the FDCPA;

       2.     Enter judgment in favor of Plaintiff Parker, and against Defendant

Mercantile, for actual and statutory damages, costs, and reasonable attorneys’ fees as

provided by § 1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Ashley Parker, demands trial by jury.

                                                     Ashley Parker,

                                                     By:/s/ David J. Philipps_____________
                                                     One of Plaintiff's Attorneys

Dated: January 28, 2012

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